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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                              Case No. 20-cv-23223-BLOOM/Louis

 DRAGAN JANICIJEVIC, on his own
 behalf and on behalf of all other similarly
 situated crewmembers working aboard
 BAHAMAS PARADISE CRUISE
 LINE vessels,

         Plaintiffs,

 v.

 CLASSICA CRUISE OPERATOR, LTD.,
 PARADISE CRUISE LINE
 OPERATOR LTD. INC. a/k/a PARADISE
 CRUISE LINE OPERATOR LTD. d/b/a
 BAHAMAS PARADISE CRUISE LINE,
 BPCL MANAGEMENT, LLC d/b/a
 BAHAMAS PARADISE CRUISE LINE, LLC,

       Defendants.
 _______________________________________/

                          ORDER RESETTING MOTION HEARING

        THIS CAUSE is before the Court upon Defendants’ Unopposed Motion for Change of

 Scheduled Hearing Time, ECF No. [24] (“Motion”), filed on October 26, 2020, which requests

 that this Court reset the hearing currently scheduled for 11:00 a.m. on November 5, 2020, to 3:30

 p.m. on the same day.

        Accordingly, it is ORDERED AND ADJUDGED that the Motion, ECF No. [24], is

 GRANTED. The time of the Zoom hearing on the pending Motion, ECF No. [21], that is currently

 set for November 5, 2020, at 11:00 a.m. is RESET to 3:30 p.m. on November 5, 2020. The

 Courtroom Deputy will provide instructions on the Zoom videoconferencing.
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                                                   Case No. 20-cv-23223-BLOOM/Louis


        DONE AND ORDERED in Chambers at Miami, Florida, on October 26, 2020.




                                                _________________________________
                                                BETH BLOOM
                                                UNITED STATES DISTRICT JUDGE

 Copies to:

 Counsel of Record




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